Case 1:02-cV-01205-.]DB-tmp Document 126 Filed 05/06/05 Page 1 of 3 Page|D 156

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IN THE UNITED sTATEs DISTRICT coURT \ 05
FoR THE wEsTERN DISTRICT oF TENNESSEE 05»‘!4)'__6 ‘

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TORRI WILLIAMS, WD. Q-: my MC£`)/S,_~ g
l `b /<S\O .
Plaimiff,
v. No. 02-1205~B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants .

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

_ ClL
IT IS SO ORDERED thls §§ day of May, 2005.

  
  

 

. DANIEL BREEN `
IT D STATES DlsTRICT JUDGE

'f`his document entered on the dock

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This notice confirms a copy ofthe document docketed as number 126 in
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K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

lackson7 TN 38305

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

.1 ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

lackson7 TN 38305

.1 oseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Robert .1. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

W. Gaston Fairey

FAIREY PARISE & 1\/HLLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

.1. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

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Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

lackson7 TN 38305

Terry Williams

LAW OFFICES OF TERRY WILLIAMS
P.O. Box 677

206 S. Third

Delavan, WI 531 15

Honorable .1. Breen
US DISTRICT COURT

